




02-12-386-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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NO. 02-12-00386-CV 

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  Steffenie B. Weir
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Citibank, N.A.
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


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FROM County
Court at Law No. 3 OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On January
16, 2013, we notified appellant that her brief had not been filed as required
by Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R. App. P.
38.6(a).&nbsp; We stated we could dismiss the appeal for want of prosecution unless
appellant or any party desiring to continue this appeal filed with the court
within ten days a response showing grounds for continuing the appeal.&nbsp; See
Tex. R. App. P. 42.3.&nbsp; We have not received any response.

Because
appellant's brief has not been filed, we dismiss the
appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
43.2(f).

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PER CURIAM

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PANEL:&nbsp;
WALKER, MCCOY, and MEIER, JJ.&nbsp; &nbsp;&nbsp;&nbsp;

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DELIVERED:&nbsp;
February 21, 2013&nbsp; 








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[1]See Tex. R. App. P. 47.4.







